Case 3:23-md-03084-CRB   Document 1988-2   Filed 12/19/24   Page 1 of 11




                    EXHIBIT A
Case 3:23-md-03084-CRB        Document 1988-2        Filed 12/19/24    Page 2 of 11




                                              Subject to
                       Date Complaint                             Date PFS Was
 Plaintiff                                    November 1,
                       Was Filed                                  Due
                                              2024 Stipulation?


 LS 218, No. 3:23-
 cv-03970, MDLC        August 7, 2023         Yes                 November 15, 2024
 ID 1116


 LS 259, No. 3:23-
 cv-04370, MDLC        August 24, 2023        Yes                 November 15, 2024
 ID 1124


 LS 231, No. 3:23-
 cv-04367, MDLC        August 24, 2023        Yes                 November 15, 2024
 ID 1129


 LS 293, No. 3:23-
 cv-04364, MDLC        August 24, 2023        Yes                 November 15, 2024
 ID 1131


 LS 67, No. 3:23-cv-
 04366, MDLC ID        August 24, 2023        Yes                 November 15, 2024
 1132


 LS 144, No. 3:23-
 cv-04388, MDLC        August 25, 2023        Yes                 November 15, 2024
 ID 1137


 LS 112, No. 3:23-
 cv-05286, MDLC        October 16, 2023       Yes                 November 15, 2024
 ID 1157


 LS 365, No. 3:23-
 cv-05328, MDLC        October 18, 2023       Yes                 November 15, 2024
 ID 1163




                                          1
Case 3:23-md-03084-CRB        Document 1988-2       Filed 12/19/24   Page 3 of 11




 LS 284, No. 3:23-
 cv-05363, MDLC        October 19, 2023       Yes              November 15, 2024
 ID 1167


 LS 126, No. 3:23-
 cv-05370, MDLC        October 19, 2023       Yes              November 15, 2024
 ID 1169


 LS 265, No. 3:23-
 cv-05377, MDLC        October 20, 2023       Yes              November 15, 2024
 ID 1172


 LS 200, No. 3:23-
 cv-05387, MDLC        October 20, 2023       Yes              November 15, 2024
 ID 1173


 LS 66, No. 3:23-cv-
 05414, MDLC ID        October 20, 2023       Yes              November 15, 2024
 1177


 LS 317, No. 3:23-
 cv-05424, MDLC        October 23, 2023       Yes              November 15, 2024
 ID 1182


 LS 234, No. 3:23-
 cv-05433, MDLC        October 23, 2023       Yes              November 15, 2024
 ID 1184


 LS 191, No. 3:23-
 cv-05573, MDLC        October 28, 2023       Yes              November 15, 2024
 ID 1189


 LS 302, No. 3:23-
 cv-05577, MDLC        October 28, 2023       Yes              November 15, 2024
 ID 1191




                                          2
Case 3:23-md-03084-CRB       Document 1988-2        Filed 12/19/24   Page 4 of 11




 LS 273, No. 3:23-
 cv-05946, MDLC       November 16, 2023       Yes              November 15, 2024
 ID 1197


 LS 303, No. 3:24-
 cv-05980, MDLC       August 26, 2024         Yes              November 15, 2024
 ID 2279


 LS 269, No. 3:24-
 cv-05922, MDLC       August 25, 2024         Yes              November 15, 2024
 ID 2288


 LS 279, No. 3:24-
 cv-05420, MDLC       August 19, 2024         Yes              November 15, 2024
 ID 2293


 LS 6, No. 3:24-cv-
 05316, MDLC ID       August 16, 2024         Yes              November 15, 2024
 2302


 LS 7, No. 3:24-cv-
 05926, MDLC ID       August 25, 2024         Yes              November 15, 2024
 2304


 LS 226, No. 3:24-
 cv-05330, MDLC       August 18, 2024         Yes              November 15, 2024
 ID 2309


 LS 139, No. 3:24-
 cv-05527, MDLC       August 20, 2024         Yes              November 15, 2024
 ID 2311


 LS 491, No. 3:24-
 cv-05678, MDLC       August 22, 2024         Yes              November 15, 2024
 ID 2314




                                          3
Case 3:23-md-03084-CRB        Document 1988-2      Filed 12/19/24   Page 5 of 11




 LS 518, No. 3:24-
 cv-05761, MDLC        August 22, 2024       Yes              November 15, 2024
 ID 2317


 LS 230, No. 3:24-
 cv-06026, MDLC        August 26, 2024       Yes              November 15, 2024
 ID 2318


 LS 140, No. 3:24-
 cv-05929, MDLC        August 25, 2024       Yes              November 15, 2024
 ID 2325


 LS 122, No. 3:24-
 cv-05332, MDLC        August 18, 2024       Yes              November 15, 2024
 ID 2326


 LS 93, No. 3:24-cv-
 05925, MDLC ID        August 25, 2024       Yes              November 15, 2024
 2327


 LS 436, No. 3:24-
 cv-05804, MDLC        August 23, 2024       Yes              November 15, 2024
 ID 2328


 LS 248, No. 3:24-
 cv-05647, MDLC        August 21, 2024       Yes              November 15, 2024
 ID 2331


 LS 470, No. 3:24-
 cv-05207, MDLC        August 15, 2024       Yes              November 15, 2024
 ID 2332


 LS 484, No. 3:24-
 cv-05824, MDLC        August 23, 2024       Yes              November 15, 2024
 ID 2337




                                         4
Case 3:23-md-03084-CRB        Document 1988-2      Filed 12/19/24   Page 6 of 11




 LS 166, No. 3:24-
 cv-05331, MDLC        August 18, 2024       Yes              November 15, 2024
 ID 2344


 LS 359, No. 3:24-
 cv-05908, MDLC        August 25, 2024       Yes              November 15, 2024
 ID 2355


 LS 314, No. 3:24-
 cv-06016, MDLC        August 26, 2024       Yes              November 15, 2024
 ID 2356


 LS 516, No. 3:24-
 cv-05829, MDLC        August 23, 2024       Yes              November 15, 2024
 ID 2363


 LS 421, No. 3:24-
 cv-05941, MDLC        August 25, 2024       Yes              November 15, 2024
 ID 2371


 LS 272, No. 3:24-
 cv-05390, MDLC        August 19, 2024       Yes              November 15, 2024
 ID 2372


 LS 15, No. 3:24-cv-
 05933, MDLC ID        August 25, 2024       Yes              November 15, 2024
 2380


 LS 367, No. 3:24-
 cv-06027, MDLC        August 26, 2024       Yes              November 15, 2024
 ID 2383


 LS 4, No. 3:24-cv-
 05861, MDLC ID        August 23, 2024       Yes              November 15, 2024
 2385




                                         5
Case 3:23-md-03084-CRB      Document 1988-2      Filed 12/19/24   Page 7 of 11




 LS 399, No. 3:24-
 cv-05865, MDLC      August 23, 2024       Yes              November 15, 2024
 ID 2387


 LS 423, No. 3:24-
 cv-05676, MDLC      August 22, 2024       Yes              November 15, 2024
 ID 2389


 LS 517, No. 3:24-
 cv-05726, MDLC      August 22, 2024       Yes              November 15, 2024
 ID 2394


 LS 232, No. 3:24-
 cv-05327, MDLC      August 18, 2024       Yes              November 15, 2024
 ID 2398


 LS 416, No. 3:24-
 cv-05335, MDLC      August 18, 2024       Yes              November 15, 2024
 ID 2417


 LS 136, No. 3:24-
 cv-05475, MDLC      August 20, 2024       Yes              November 15, 2024
 ID 2420


 LS 199, No. 3:24-
 cv-05402, MDLC      August 19, 2024       Yes              November 15, 2024
 ID 2423


 LS 274, No. 3:24-
 cv-05902, MDLC      August 24, 2024       Yes              November 15, 2024
 ID 2427


 LS 319, No. 3:24-
 cv-05800, MDLC      August 23, 2024       Yes              November 15, 2024
 ID 2428




                                       6
Case 3:23-md-03084-CRB        Document 1988-2      Filed 12/19/24   Page 8 of 11




 LS 291, No. 3:24-
 cv-06020, MDLC        August 26, 2024       Yes              November 15, 2024
 ID 2433


 LS 504, No. 3:24-
 cv-05928, MDLC        August 25, 2024       Yes              November 15, 2024
 ID 2440


 LS 141, No. 3:24-
 cv-05634, MDLC        August 21, 2024       Yes              November 15, 2024
 ID 2448


 LS 44, No. 3:24-cv-
 05595, MDLC ID        August 21, 2024       Yes              November 15, 2024
 2449


 LS 197, No. 3:24-
 cv-06003, MDLC        August 26, 2024       Yes              November 15, 2024
 ID 2451


 LS 202, No. 3:24-
 cv-05333, MDLC        August 18, 2024       Yes              November 15, 2024
 ID 2453


 LS 464, No. 3:24-
 cv-5153, MDLC ID      August 14, 2024       Yes              November 15, 2024
 2466


 LS 304, No. 3:24-
 cv-05914, MDLC        August 25, 2024       Yes              November 15, 2024
 ID 2470


 LS 373, No. 3:24-
 cv-05328, MDLC        August 18, 2024       Yes              November 15, 2024
 ID 2473




                                         7
Case 3:23-md-03084-CRB      Document 1988-2      Filed 12/19/24   Page 9 of 11




 LS 184, No. 3:24-
 cv-05609, MDLC      August 21, 2024       Yes              November 15, 2024
 ID 2474


 LS 487, No. 3:24-
 cv-05611, MDLC      August 21, 2024       Yes              November 15, 2024
 ID 2478


 LS 209, No. 3:24-
 cv-06033, MDLC      August 26, 2024       Yes              November 15, 2024
 ID 2482


 LS 188, No. 3:24-
 cv-06022, MDLC      August 26, 2024       Yes              November 15, 2024
 ID 2487


 LS 125, No. 3:24-
 cv-05982, MDLC      August 26, 2024       Yes              November 15, 2024
 ID 2489


 LS 368, No. 3:24-
 cv-05898, MDLC      August 24, 2024       Yes              November 15, 2024
 ID 2490


 LS 425, No. 3:24-
 cv-05885, MDLC      August 24, 2024       Yes              November 15, 2024
 ID 2499


 LS 305, No. 3:24-
 cv-05338, MDLC      August 18, 2024       Yes              November 15, 2024
 ID 2501


 LS 180, No. 3:24-
 cv-05936, MDLC      August 25, 2024       Yes              November 15, 2024
 ID 2503




                                       8
Case 3:23-md-03084-CRB       Document 1988-2       Filed 12/19/24   Page 10 of 11




 LS 206, No. 3:24-
 cv-05419, MDLC        August 19, 2024       Yes               November 15, 2024
 ID 2509


 LS 369, No. 3:24-
 cv-05915, MDLC        August 25, 2024       Yes               November 15, 2024
 ID 2512


 LS 119, No. 3:24-
 cv-05937, MDLC        August 25, 2024       Yes               November 15, 2024
 ID 2514


 LS 462, No. 3:24-
 cv-05329, MDLC        August 18, 2024       Yes               November 15, 2024
 ID 2518


 LS 189, No. 3:24-
 cv-05379, MDLC        August 19, 2024       Yes               November 15, 2024
 ID 2536


 LS 441, No. 3:24-
 cv-05751, MDLC        August 22, 2024       Yes               November 15, 2024
 ID 2537


 LS 60, No. 3:24-cv-
 05618, MDLC ID        August 21, 2024       Yes               November 15, 2024
 2538


 LS 277, No. 3:24-
 cv-05944, MDLC        August 26, 2024       Yes               November 15, 2024
 ID 2544


 LS 342, No. 3:24-
 cv-05913, MDLC        August 25, 2024       Yes               November 15, 2024
 ID 2545




                                         9
Case 3:23-md-03084-CRB     Document 1988-2         Filed 12/19/24   Page 11 of 11




 LS 201, No. 3:24-
 cv-05354, MDLC      August 19, 2024         Yes               November 15, 2024
 ID 2548


 LS 530, No. 3:24-
 cv-07143, MDLC      October 12, 2024        No                November 11, 2024
 ID 2623


 LS 532, No. 3:24-
 cv-06927, MDLC      October 3, 2024         No                November 2, 2024
 ID 2651


 LS 534, No. 3:24-
 cv-07142, MDLC      October 12, 2024        No                November 11, 2024
 ID 2653




                                        10
